                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

PAUL A. IANNELLO,                                  )
                                                   )
        Plaintiff,                                 )             Case Number 3:16-cv-1867
                                                   )
v.                                                 )             Hon. Marvin E. Aspen
                                                   )
AMERICAN GENERAL LIFE                              )
INSURANCE COMPANY,                                 )
                                                   )             JURY DEMAND
        Defendant.                                 )


                     JOINT STIPULATION OF DISMISSAL


       As directed by the court's order of April 13 (Dkt. No. 50), the parties hereby jointly

stipulate that this matter be dismissed, with prejudice.

Respectfully submitted,

MACPHERSON & YOUMANS, P.C.                        MAYNARD, COOPER & GALE, P.C.

by     s/ Robert D. MacPherson                    by     s/ John A. Little, Jr.
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                                 CERTIFICATE OF SERVICE
       I hereby certify that, on the 20th day of April, 2018, service of a copy hereof was made
upon Filing Users through the Electronic Filing System. The specific persons upon whom service
is made are John A. Little, Jr., and Michael D. Mulvaney, Maynard, Cooper & Gale, P.C.,
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attorneys for the defendant.
                                                  by      s/ Robert D. MacPherson
                                                  Robert D. MacPherson


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